                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1:08-CR-119
 vs.                                                   )
                                                       )
 GARY WESTFIELD                                        )       JUDGE COLLIER

                                 MEMORANDUM AND ORDER

        GARY WESTFIELD (“Supervised Releasee”) appeared for an initial appearance before
 the undersigned on July 14, 2015 and for a preliminary hearing and detention hearing on July 17,
 2015, in accordance with Rule 32.1 of the Federal Rules of Criminal Procedure on the Petition
 for Warrant for Offender Under Supervision (“Petition”). Those present for the hearing included:

               (1) An Assistant United States Attorney for the Government.
               (2) The Supervised Releasee.
               (3) Attorney Martin Lester for defendant.

        After being sworn in due form of law, the Supervised Releasee was informed or
 reminded of his privilege against self-incrimination accorded him under the 5th Amendment to
 the United States Constitution.

        It was determined the Supervised Releasee wished to be represented by an attorney and
 he qualified for the appointment of an attorney to represent him at government expense. Atty.
 Martin Lester was APPOINTED to represent the defendant. It was determined the Supervised
 Releasee had been provided with a copy of the Petition and the Warrant for Arrest and had the
 opportunity of reviewing those documents with his attorney. It was also determined he was
 capable of being able to read and understand the copy of the aforesaid documents he had been
 provided

        At the preliminary hearing and detention hearing on July 17, 2015, the government called
 USPO Danny Haimelin as a witness and moved that the defendant be detained pending the
 revocation hearing.

                                              Findings

        (1) Based upon USPO Haimelin’s testimony, the undersigned finds there is
        probable cause to believe defendant has committed violations of his conditions of
        supervised release as alleged or set forth in the Petition.

        (2) The defendant has not carried his burden under Rule 32.1(a)(6) of the Federal
        Rules of Criminal Procedure, that if released on bail he will not flee or will not pose

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      a danger to the community.

                                         Conclusions

      It is ORDERED:

      (1) The motion of the government that the defendant be DETAINED WITHOUT
      BAIL pending the revocation hearing before U.S. District Judge Curtis L. Collier is
      GRANTED.

      (2) The U.S. Marshal shall transport defendant to a revocation hearing before
      Judge Collier on Thursday, August 13, 2015, at 9:00 am.

      ENTER.

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                                           UNITED STATES MAGISTRATE JUDGE




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